Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 1 of 30




                            EXHIBIT 26
                    Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 2 of 30




COPIES SENT PURSUANT TO Pa.R.C.P. 236(b) D. KELLY 04/23/2024
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 3 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 4 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 5 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 6 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 7 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 8 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 9 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 10 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 11 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 12 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 13 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 14 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 15 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 16 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 17 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 18 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 19 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 20 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 21 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 22 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 23 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 24 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 25 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 26 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 27 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 28 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 29 of 30
Case 25-90138 Document 25-26 Filed in TXSB on 06/02/25 Page 30 of 30
